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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-4848 PA (KSx)                                           Date    June 6, 2022
 Title             Shawn Carter v. Jonathan Mannion, et al.


 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                          N/A
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                 None
 Proceedings:                 IN CHAMBERS ORDER

        The parties are ordered to each submit a Confidential Settlement Conference Statement
(“statement”) no later than Monday, June 13, 2022, at 12:00 p.m., to the Court’s chambers
courtesy box. The statement shall be in the form of a letter and not exceed five pages in length.
The statement shall include a chronology of the parties’ prior settlement negotiations, including
the last offer or demand made by that party as well as the minimum amount the parties will
accept and maximum amount the parties will pay. The statement shall be submitted to the
chambers courtesy box on the Fourth Floor of the 1st Street Federal Courthouse. The statement
shall not be filed and shall not be exchanged with the other side. The statement shall also
contain the following information:

         (a)        a summary of the factual background of the case;
         (b)        a summary of the important legal and factual issues presented by the case and the
                    submitting party’s position on each issue;
         (c)        a description of the damages or other relief sought by or against the submitting
                    party; and
         (d)        any other relevant circumstances that counsel believe will assist the Court.

       The Statement will be provided to a judicial officer to determine the probability of a
settlement and whether the Court should require the parties to attend an additional settlement
conference.

         IT IS SO ORDERED.




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